Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 1 of 18 PageID #:2666




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


ARTHUR L. LEWIS, JR., et al.,                 )
                                              )
               Plaintiffs,                    )      No. 98 C 5596
                                              )
       v.                                     )      Judge Joan B. Gottschall
                                              )
CITY OF CHICAGO,                              )
                                              )
               Defendant.                     )


                      MEMORANDUM OPINION AND ORDER

       On March 22, 2005, following a bench trial, this court entered a judgment of

liability against defendant, City of Chicago (“the City”), having found that the manner in

which the City hired firefighters based on the 1995 written Firefighters Examination

discriminated against African-Americans. Lewis v. City of Chicago, No. 98 C 5596,

2005 WL 693618, at *1 (N.D. Ill. March 22, 2005). The court joined for remedial

purposes Chicago Firefighters Union Local #2 (“the Union”) and The Firemen’s Annuity

and Benefit Fund of Chicago as non-aligned parties for the limited purpose of granting

relief. The plaintiffs, the City, and the Union have presented live witnesses, videotaped

testimony, and briefs on the subject of remedies. This opinion is intended to resolve

most, if not all, of the remaining disputes concerning the subject of remedies.

       The plaintiff class is composed of approximately 6,000 African-Americans who

applied for entry-level firefighter jobs with the City and scored from 65 to 88 (inclusive)

on the 1995 firefighter written examination. The parties are in agreement that but for the

hiring practices found by the court to be discriminatory, 132.4 additional African-
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 2 of 18 PageID #:2667




Americans would have been hired by the Chicago Fire Department (“CFD”). In order to

remedy such unlawful discrimination, 132 class members shall be hired (“the shortfall

group”). These 132 positions will be offered by lot to members of the plaintiff class.

The court is aware of no substantial disagreement between the parties concerning the

manner in which these 132 persons shall be identified. In the Order which follows, the

court resolves the parties’ modest disagreements as to the identification, hiring and

training of the shortfall group, and resolves the more contentious disagreements over the

subject of monetary remedies.

                                      I. SKIP-TRACING

        Plaintiffs have requested that the court order the City to hire a skip tracing service

to update class members’ address information before offers to advance to the next steps

of the hiring process are mailed. The City responds that such an order will cause it

substantial unnecessary (albeit unspecified) expense. Moreover, according to the City,

persons who took and passed the 1995 entrance examinations were informed that they

were obligated to keep the City apprised of their current address.

        Given that test-takers were told to keep the City updated as to their current

address, it is reasonable to assume that persons still interested in the firefighter job did so.

The court therefore concludes that hiring a skip tracer as a requirement of this order is

premature. If large numbers of mailed notices cannot be delivered, hiring a skip tracer

may be necessary. At this point, the parties should figure out some way to determine the

number of undeliverable mailings and to inform the court if the number of undeliverable

mailings becomes significant.



                                               2
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 3 of 18 PageID #:2668




       The court rejects the City’s contention that plaintiffs “waived” this proposal.

Proposals to avoid likely problems are useful and will not be deemed “waived” because

suggested late.

             II. TIME REQUIREMENT FOR PRE-EMPLOYMENT SCREENING
                           OF THE SHORTFALL GROUP

       Plaintiffs have proposed a timetable for the hiring of the shortfall group which

sets a 120 day deadline for pre-employment screening of the shortfall group. The City

maintains that four months is insufficient, and a minimum of 200 days is necessary. No

one knows at this point how difficult and time-consuming this process will be. The court

will allow 180 days, basically six months, for this pre-screening to take place. The City

shall use its best efforts to complete this process more expeditiously if possible. The

parties should propose a method by which the court can monitor the progress of pre-

employment screening.

        III. RANDOM SELECTION OF MEMBERS OF THE SHORTFALL GROUP;
       REQUIREMENT OF IN-PERSON RETURN OF CANDIDATE INTEREST CARDS

       The court has been given no reason to believe that the City’s current random

selection process conducted by its usual outside contractor is inadequate for the selection

of the class members who will undergo screening. Accordingly, it finds no reason to

disturb the City’s normal procedure. Nor does the court find any reason to disturb the

City’s usual practice of mandating the return of “Candidate Interest Cards” in person.

Since it is possible, however, that some members of the shortfall group no longer live in

the Chicago area but would return if offered a position as firefighter, the City should be

willing to waive this requirement for good cause shown (as is too often the case, the

parties have not informed the court of why their difference on this point matters to them

                                             3
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 4 of 18 PageID #:2669




or to anyone else; that the concern is over people who have moved out of the Chicago

area is a guess).

                     IV. TIME LIMIT FOR ENTRANCE TO ACADEMY
                         OF MEMBERS OF SHORTFALL GROUP

        Plaintiffs ask the court to order that all 132 members of the shortfall group enter

the CFD Academy (“the Academy”) within twelve months of the entry of the Injunctive

Order. The City seeks twenty-four months, arguing that there are operational difficulties

with having more than sixty candidates in the Academy at any one time. The City is also

obligated by its union contract to include 10% paramedic crossovers in each Academy

class. The court agrees with the City that it is in the best position to exercise modest

discretion to determine class sizes, and requires that all class members hired pursuant to

this order enter the Academy within twenty-four months. The court intends and expects

that the shortfall class will be promptly trained and promptly integrated into the ranks of

firefighters; it does not want its intention and expectation dashed because the City has

been forced to provide Academy training on a basis which it believes is faster than

appropriate.

                           V. TIME-IN-GRADE REQUIREMENT

        Plaintiffs seek a reduction to thirty months from the collective bargaining

agreement’s fifty-four month “time-in-grade” requirement for promotion to the rank of

engineer or lieutenant after taking a promotion examination. Section 9.3B of the

collective bargaining agreement between the City and the Union provides for this fifty-

four month time-in-grade requirement, and it provides that no employee may be

promoted to engineer or lieutenant who has not completed fifty-four months in his/her


                                              4
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 5 of 18 PageID #:2670




prior classification. The parties’ presentation of this issue is characterized by much heat

and little light. Each party charges the others with failing to offer evidence in support of

its position. The plaintiffs argue, without evidentiary foundation, that the time-in-grade

requirement serves no important (safety-related or other) function and the City and the

Union argue the opposite. Apparently recognizing that giving the plaintiffs immediate

promotions would be impossible for many reasons, plaintiffs suggest that the fifty-four

month requirement be lowered to thirty months. Whether fifty-four months serves safety

interests and whether thirty months is its equivalent is something no one has established.

       In order to ignore a requirement which must necessarily have the effect–whether

or not this is its purpose–of promoting more experienced rather than less experienced

individuals to higher ranks, the court would have to be satisfied that the time-in-grade

requirement serves no important safety interests. It is not so satisfied. Indeed, the

evidence was wholly insufficient to demonstrate that the time-in-grade requirement,

whatever its purpose, does not have the effect of delaying promotions until individuals

have more experience and are better qualified. The court accordingly will not override

the union contract on this issue, and will leave the time-in-grade requirement in place for

the shortfall group.

       In addition, the court does not believe there was sufficient evidence to compel the

City to give promotional examinations on an expedited schedule. Requiring promotions

when the City’s operational needs do not require promotions seems on balance to be

more disruptive to the CFD than compensatory to the plaintiffs.1 If plaintiffs so request,
1
 The plaintiffs’ claim that the time-in-grade requirement should be shortened, and that
the City should be compelled to give promotional exams reasonably close to a date when
members of the shortfall group will be eligible to take them, is comprehensible as a

                                              5
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 6 of 18 PageID #:2671




the court can consider giving some monetary relief to the shortfall group for lost

promotion opportunities.

                      VI. SENIORITY FOR THE SHORTFALL CLASS

       The parties agree that the 132 persons hired from the plaintiff class should receive

retroactive seniority. They disagree, however, on the way that seniority should be

calculated. Plaintiffs propose that the court adopt an “average” seniority date, which

would have been December 4, 1998, and that all members of the shortfall group shall be

credited with seniority retroactive to that date. The City, with the support of the Union,

argues that the shortfall group should be credited by lot with seniority between May 16,

1996, and November 1, 2002, according to the number of shortfall for each class. That

is, class members would be randomly assigned to each Academy class which

matriculated between May 16, 1991 and November 1, 2002, according to the number of




matter of logic–if the court’s objective is to make the plaintiff class whole, then the court
must allow the shortfall group to make up for lost promotion opportunities and, assuming
their competence, catch up with the class of which they would have been members absent
discrimination. But that such relief should be ordered because it is logically necessary if
the plaintiffs are to end up where they would have been but for the illegal discrimination
does not mean that it is prudent to order it. Plaintiffs have failed to offer evidence from
which the court can determine the effect on the CFD of ordering promotional exams on
any given schedule or giving the plaintiffs promotions with less time in grade than other
firefighters. These requested forms of relief suggest the possibility of real disruption of
the CFD’s public safety mission. The court is not dealing here with an attempt to
compensate the shortfall group monetarily for lost promotion opportunities; it is being
asked to move them through the ranks more quickly than would otherwise be possible.
The parties’ factual submissions on these points were close to non-existent; their legal
briefing was hopelessly slipshod. This court is unwilling to require that the City advance
the date of promotional exams and expedite plaintiffs’ eligibility for promotion without a
thorough evidentiary presentation and legal analysis of the consequences and propriety of
ordering such relief.


                                             6
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 7 of 18 PageID #:2672




shortfall for each class. This better achieves, the City argues, the “make whole” concept

of Title VII relief.

         As is true in all aspects of the relief in this case, it is impossible to put an

individual back in the same position that individual would have been in had there been no

discrimination in the 1995 exam. That is because each class would have been chosen by

lot, and all the court can do at this point is to choose individuals in the same way; it

cannot choose the same individuals. Since no one is arguing that the plaintiffs’ proposed

seniority calculation will yield different results monetarily from that proposed by the City

and the Union, the only question seems to be which method will be most fair and

workable in the present context of this dispute.

         The plaintiffs’ proposed method has the advantage of great simplicity. All 132

members of the shortfall group would have the same seniority date, easily calculated.

The plaintiffs’ proposed method has another advantage: it does not try to achieve

precision when precision is impossible: it is therefore honest. In other words, it does not

attempt to give certain persons advantages that others, not they, would have enjoyed had

the test not been employed in a discriminatory manner. There is no way to determine

who would have benefited from 1996 through 2002 seniority, and an average appears to

be a more honest way of compensating the shortfall group. The court therefore adopts

plaintiffs’ proposal of an average seniority date applicable to all members of the shortfall

group.

                             VII. APPOINTMENT OF A MONITOR

         Plaintiffs seek the appointment of a monitor to report on the progress of relief and

to act as an ombudsman for the shortfall group during Academy training. The City

                                                 7
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 8 of 18 PageID #:2673




opposes this request as unnecessary. The court disagrees. There has never been a class

of court-ordered remedial hires at the Academy and there has never been a class made up

largely of African-Americans. The court notes the likelihood that individuals hired

pursuant to this decree may be older, and have different life experiences and different

training challenges, than the usual Academy student.

        The court is of the view that a monitor/ombudsman would be useful to the cadets,

to the Academy, and to the court. That is, someone should have responsibility for

addressing the special needs and problems of people entering the Academy as a result of

this lawsuit. Further, someone should be responsible for reporting to the court, if

necessary, on the progress of the shortfall group. The court agrees with the City than the

monitor should be an incumbent member of the CFD acceptable to both the City and the

plaintiffs.

                                VIII. MONETARY RELIEF

        There appear to be three major areas of disagreement between the parties as to

how monetary damages should be calculated. They are: (1) in calculating the amount of

backpay, what figure should be subtracted as presumed mitigating employment wages;

(2) should backpay include an amount for moonlighting earnings–secondary jobs the

plaintiff class could have held if they had been hired as firefighters; and (3) should

prejudgment interest be calculated at the small investor or prime rate. These issues will

be resolved in turn.

                                 A. Mitigation Earnings

        As in all calculations of backpay, the court must deduct from the backpay award

wages the members of the plaintiff class made because they were not firefighters:

                                              8
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 9 of 18 PageID #:2674




amounts earned in mitigation. The major difference between the parties is their

respective experts’ difference of opinion as to whether mitigation earnings should be

calculated at Level 5 under the Bureau of Labor Standard’s (“BLS”) National

Compensation Survey (“NCS”), as plaintiffs’ expert Dr. Marc Bendick (“Dr. Bendick”)

asserts is the proper level, or at Level 6, as defendant’s expert Dr. Paul White

(“Dr. White”), asserts is the proper level.2 Determining which level should be used for

the calculation of mitigation earnings is monetarily significant.3

       The experts agree that, assuming plaintiff-specific information is not utilized, the

best source of statistical data for estimating mitigating earnings is the NCS. BLS’ NCS

reports wage rates by occupation and work level. By reference to various wage-

determining factors, it is possible to predict average wage levels for various jobs. It is

clear, however, that in at least one respect the NCS does not provide information which

fits perfectly with the court’s concerns. The NCS provides the wage rate for a given

position which has been properly defined. It does not provide information on the

question which is critical here: how much someone would make who wanted a given

position but did not get it, especially when that position involves extensive training and

2
 Actual damage figures will depend on when this order is entered and when actual
damages are paid.
3
 The court earlier rejected the City’s argument that mitigation earnings should be
determined by means of a sampling of approximately 100 members of the 6,000 member
class. The court ruled that a consideration of the costs and benefits of sampling, as well
as the burden it would place on members of the class who might not be eligible for
significant relief, counseled in favor of the use of statistical materials to come up with an
assumed mitigation wage, rather than a sampling. Lewis v. City of Chicago, No. 98 C
5596 (N.D. Ill. March 30, 2006) (minute order). While the City urged the court to
employ a sampling technique, both parties agree that if sampling is not permitted, the
best source of wage data is BLS’ NCS.


                                              9
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 10 of 18 PageID #:2675




 diverse experience. As will be made clear, this is a significant limitation to the NCS data

 as applied here. The experts’ disagreement in essence comes down to whether they

 describe the job based on the attributes of an entry level firefighter (that is, a person hired

 but not yet trained or otherwise experienced in the job) or an experienced one: in other

 words, how to define the likely job prospects of someone who applied to be a firefighter

 and passed the firefighter examination but was not hired as a firefighter.

        The experts’ disagreement between the applicability of Level 5 or Level 6 is

 based on only one of the factors which distinguishes Level 5 from Level 6 positions. The

 NCS used a nine-factor test during most of the relevant time period and recently

 converted to a four-factor test. The experts conducted their analyses using both tests and,

 as to both tests, disagree on a single factor. With respect to the nine-factor test, the

 experts disagree on the rating of the factor called “Scope and Effect.” Dr. Bendick, for

 the plaintiffs, rated this factor at “25,” a rating which corresponds to this description:

 “Specific, routine operations. Effect is on immediate organization, not broader.”

 Dr. White, for the City, rated this factor at 150, corresponding to this description: “The

 work involves treating a variety of conventional problems, questions, or situations in

 conformance with established criteria. The work product or service affects the social,

 physical, and economic well-being of persons.” Under the recently-adopted four-factor

 NCS test, the experts’ disagreement centers around the factor called “Knowledge.”

 Dr. Bendick scored “Knowledge” at 350 points while Dr. White gave it 550 points.

 Dr. Bendick found this description of “Knowledge” most apt: “Controls and extinguishes

 structural and wild fires, operates hose lines, and makes forced entries to combat

 structural fires. Gives first aid for minor burns, cuts and/or sprains; takes vital signs, and

                                               10
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 11 of 18 PageID #:2676




 performs cardiopulmonary resuscitation (CPR) in connection with fires, auto accidents,

 swimming or skiing mishaps, and/or other similar incidents.” Dr. White scored

 “Knowledge” based on this definition: “Fights fires and carries out crash/rescue activities

 at a major airport handling large aircraft or located in a metropolitan area.” Dr. White’s

 report makes clear that he believes this definition sets up airports and metropolitan areas

 as alternatives, and that a firefighter in a major metropolitan area like Chicago would fit

 into this definition; plaintiffs strongly disagree that Dr. White is reading this standard

 properly and contend that the definition is inapplicable to anything but airport

 firefighting. Scoring these factors differently led to the two experts’ disagreement about

 the level of the job that should be assumed for mitigation earnings.

        The experts’ testimony made clear that their difference in scoring depends on

 whether they assumed the “Scope and Effect” or “Knowledge” of a working Chicago

 firefighter or the “Scope and Effect” and “Knowledge” of an individual who wanted to be

 (and received a passing score on the exam) but was not chosen to be a Chicago

 firefighter. The court is satisfied that Dr. White has more accurately rated the job of an

 accomplished urban firefighter and Dr. Bendick has more accurately rated the typical

 blue collar job of a competent high school graduate without firefighter training. Which is

 the better profile of the plaintiff class between the time its members passed the firefighter

 exam but were never hired and the present is the question which must be resolved: in

 other words, which rating more accurately describes the plaintiff class during the years

 when its members should have been, but were not, Chicago firefighters.

        The evidence made clear that the job of firefighter is immensely attractive for a

 person with only a high school education; that person’s alternative job prospects are

                                               11
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 12 of 18 PageID #:2677




 limited, and public sector jobs in general would be highly desirable. It is easy to

 imagine, however, that for many individuals with more than a high school education who

 would qualify for higher level than blue collar jobs, the firefighting job might also be an

 attractive opportunity because of the physical demands, high pay, risk, and public service

 aspects of the job. The difficulty in coming up with a mitigating wage rate is that the

 class is presumably composed of both types of people: those for whom the job of

 firefighter would be far better than other jobs for which they are qualified and those

 qualified for better jobs who choose to be firefighters because of the special

 characteristics of that position. During the years when such persons should have been

 but were not offered jobs as firefighters, it can be assumed that some held jobs

 comparable to those at Level 5 and some held jobs comparable to Level 6.

        Because sampling seems both expensive and unlikely to lead to more precision,

 the court will adopt the parties’ use of the NCS and will set the job level at 5.5, halfway

 between the wages earned by a Level 5 worker and a Level 6 worker. The NCS exists to

 set wage rates, not to provide a basis for assumptions about what people not employed

 could make at other jobs available to them. That is, it is a tool designed to rate jobs, not a

 tool designed to rate people. Since it is easy to assume that the plaintiff class is

 composed of people who, if they had worked, would not have been able to find

 employment above Level 5 and people whose choices were much greater, a mid-point

 level assumption and wage rate seems to make sense. The court notes that defendant’s

 expert, Dr. White, admitted something like this when he testified that a reasonable

 compromise might be to set the wage rate at Level 5 for the period during which the

 plaintiff class could be assumed to have been in training and Level 6 thereafter.

                                               12
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 13 of 18 PageID #:2678




        The problem is, the plaintiff class did not go through training and never reached

 the competence of a Chicago firefighter. The court makes the assumption, and believes it

 is the best possible under the circumstances, that some substantial number of members of

 the plaintiff class did worse in their employment prospects than a firefighter job offered

 and some did better. In the absence of any reasonably inexpensive way to achieve more

 precision, the court adopts the wage rate of hypothetical Level 5.5 as presumed

 mitigating earnings.4

                            B. The Prejudgment Interest Rate

        Plaintiffs contend that prejudgment interest should be awarded at the prime rate,

 citing First National Bank of Chicago v. Standard Bank & Trust, 172 F.3d 472, 480 (7th

 Cir. 1999). Defendant argues that there should be no prejudgment interest in this case

 because backpay damages are speculative and uncertain, given that backpay is being

 calculated based on statistical data from government surveys rather than from actual

 earnings data of the 132 plaintiffs who should have been hired. In addition, the City

 argues, the case has been pending for eight years and has involved significant litigation

 delays not all attributable to the City; further, this case does not involve wages that were

 withheld for work actually performed. If prejudgment interest is awarded, however, the

 City argues that the small investor rate of return would be more appropriate in this case

 since it is more like what plaintiffs could have realized.

        The City has made no credible argument against the award of prejudgment

 interest in this case. Title VII is clearly a statute with a remedial purpose and, while the

 4
  The census data submitted by the parties similarly counsels in favor of a wage rate
 between the two suggested by the parties’ experts.


                                              13
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 14 of 18 PageID #:2679




 blame can be shared among all the involved parties, the City’s responsibility for the

 delays in this case can nowhere be seen more clearly than in its vociferous and yet barely

 reasoned argument against the award of prejudgment interest. The only argument it

 makes which gives the court some pause is its argument that the damages in this case

 cannot be awarded to the specific persons who were denied employment, because there is

 no way to tell who would have received the 132 jobs in question if such persons had been

 chosen when they should have been chosen, rather than years later. The City has cited

 nothing suggesting that the difficulty of determining precisely which plaintiffs in the

 plaintiff class would have been hired had the City hired without discrimination is a basis

 for denying prejudgment interest. The City is responsible for the court’s inability to

 determine with certainty who would have been hired had the City hired properly, and it

 does not seem appropriate to deny the class make-whole economic relief because the

 City’s conduct has injected imprecision into the award.

        The Seventh Circuit has made it pellucidly clear that in the absence of “refined

 rate-setting,” prejudgment interest should be awarded at the prime rate. First National

 Bank of Chicago, 172 F.3d at 480. This rate should not be modified to reflect the

 closeness of the case, the defendant’s good faith or the parties’ relative fault. Id. Its sole

 purpose is to make the victim whole. Id. Prejudgment interest on an award of backpay is

 appropriate. Fine v. Ryan Int’l Airlines, 305 F.3d 746, 757 (7th Cir. 2002). Thus, the

 City’s argument that the prime rate is too high for work not actually performed as a result

 of discrimination is without merit. The fact that the prime rate yields an imprecise

 estimate is no reason not to apply it. Cement Div., Nat’l Gypsum Co. v. City of



                                               14
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 15 of 18 PageID #:2680




 Milwaukee, 144 F.3d 1111, 1114 (7th Cir. 1998). Accordingly, prejudgment interest will

 be awarded at the prime rate.

                C. Compensation for the Lost Opportunity to Moonlight

        The normal schedule for a Chicago firefighter is unusual: twenty-four hours on,

 followed by forty-eight hours off, resulting in ten days off (rather than the more common

 four) over every two-week period. Comparing a CFD firefighter to a conventional

 Monday through Friday, nine-to-five worker, a firefighter has an extra six days off every

 two weeks, translating to 156 days off during the course of a year that a typical worker

 does not have. This schedule leaves firefighters with more time off than is common; the

 large amount of time off, and the ability to use that time for a second job with additional

 income, is a benefit of the firefighter position. A 1995 survey by the BLS found that

 28.1% of firefighters nationwide reported holding second jobs. Plaintiffs also cite

 testimony of then First Deputy Fire Commission (subsequently Commissioner) Edward

 P. Altman, Jr. (“Altman”), cited in a ruling of the Commission on Human Relations in a

 1995 case called Adams v. Chicago Fire Department estimating that roughly 90% of

 Chicago firefighters at that time held a second job. Plaintiffs argue that make-whole

 relief in this case requires the court to account for the fact that by missing out on a

 firefighter position, a member of the plaintiff class also missed out on this opportunity to

 hold a second job. Plaintiffs suggest that the BLS’ 28.1% be adopted as a conservative

 estimate of the number of firefighters holding second jobs, that the hours of expected

 secondary employment be reduced by half (from 156 days to 78 days) and that the court

 assume the hourly wage rate for such second jobs is half the hourly wage rate assumed

 for interim or mitigation earnings.

                                               15
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 16 of 18 PageID #:2681




        The City views the plaintiffs’ proposed moonlighting remedy as “extraordinary.”

 The City cites to the absence of caselaw authorizing compensation for the possibility of

 secondary employment as part of make-whole relief, as well as plaintiffs’ lack of reliable

 evidence. As to the BLS information, the City notes that it is hearsay (the court rejects

 this objection; reliance on official government reports is indispensable in this case), stale

 (eleven years old) and does not pertain only to Chicago. The City also points out that the

 Altman statement was a finding of fact in a lengthy decision; the City notes that plaintiffs

 have not tendered the Altman testimony and that the court decision referring to it does

 not indicate the foundation, if any, for Altman’s statement.

        The plaintiffs appear to rely on the Altman statement not as a basis for calculating

 moonlighting earnings but as some evidence that the BLS information is relevant to

 Chicago firefighters; by not relying on the Altman statement for very much, plaintiffs

 appear to argue, its problems as evidence are rendered less significant. Altman’s

 statement at least indicates that moonlighting is at least as common, and probably more

 common, among Chicago firefighters than among firefighters considered nationwide.

        To justify their claim for moonlighting earnings, plaintiffs urge the court to

 consider overtime benefits as analogous to secondary employment. The Seventh Circuit

 has held that it is appropriate to determine whether, and to what extent, overtime benefits

 should be included in a backpay award. See Kossman v. Calumet County, 800 F.2d 697,

 703 (7th Cir. 1986), rev’d on other grounds, Coston v. Plitt Theaters, Inc., 831 F.2d

 1321, 1336 (7th Cir. 1987).

        There is an obvious analogy between overtime and moonlighting earnings. Both

 allow individuals to accumulate earnings additional to what their normal working hours

                                              16
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 17 of 18 PageID #:2682




 provide and both do so because normal working hours do not exhaust the working

 capabilities of the workers involved. A job that does not exhaust its workers’ time or

 energies permits the accumulation of earnings from secondary employment, which can

 easily be considered a benefit of such a job. But moonlighting and overtime are different

 in that overtime hours are required to meet the needs of the employee’s primary

 employer; by looking at the experiences of other employees of the employer involved, it

 is possible to come up with a reasonable estimate of the likely overtime hours that a

 given employee would have worked. Moonlighting, in contrast to overtime, has nothing

 to do with any needs or requirements of the CFD. More significantly, it can be assumed

 that the moonlighting experiences of different firefighters are vastly different, in terms of

 the hours worked and the jobs involved. Neither element of plaintiffs’ proof–the

 estimates of Deputy Commissioner Altman or BLS Survey–tells the court anything about

 who worked at what jobs and for how many hours each year.

        The court agrees with the defendants that the quality of this evidence is

 troublesome. Plaintiffs try to mitigate the potential lack of relevance of the non-Chicago

 BLS study with Altman’s testimony, but Altman’s testimony is hearsay (as far as this

 court is aware, referenced only in a single plaintiff ruling of the Chicago Commission on

 Human Relations) and this court knows nothing about what, if any foundation, he had for

 his estimate. While plaintiffs’ efforts to use this evidence only to come up with a

 conservative estimate is admirable, the court is reluctant to make any part of this award

 dependent on such unsatisfactory evidence.

        In the court’s view, moonlighting income is simply too remote from anything for

 which defendant is responsible, and the evidence of the amount of moonlighting income

                                              17
Case: 1:98-cv-05596 Document #: 391 Filed: 03/20/07 Page 18 of 18 PageID #:2683




 is too speculative, to compensate the class for moonlighting income they possibly could

 have made. On the continuum from basing backpay on actual wages to making

 defendants pay for such intangibles as loss of other employment opportunities because of

 lack of firefighter training, moonlighting income falls, the court believes, on the too-

 speculative side of the line. The court will not include an estimate of potential

 moonlighting earnings in the backpay awarded to the plaintiff class.

                                    IX. CONCLUSION

        The parties should draft an injunction order in conformity with this opinion and

 agreed as to form. The parties should appear before the court on Wednesday, March 28,

 2007, with that draft order. At that time, the parties can advise the court of any

 additional matters that must be resolved before final judgment is entered.

                                       ENTER:

                                       ________________/s/_______________________
                                       JOAN B. GOTTSCHALL
                                       United States District Judge


 Dated: March 20, 2007




                                              18
